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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

CHARLOTTE LARSON,

       Plaintiff,

v.                                                              Case No: 8:15-cv-1250-T-36AEP

CITIBANK, N.A.,

      Defendant.
___________________________________/

                                           ORDER

       This matter comes before the Court upon the Joint Stipulation to Stay Case and Compel

Arbitration (Doc. 20), filed on January 26, 2016. The parties seek to stay these proceedings

pending the arbitration of the claims asserted by Plaintiff Charlotte Larson against Defendant

Citibank, N.A. Further, pursuant to the written arbitration agreement, the parties agree to binding

arbitration. Therefore, the parties request that this action be stayed pending the completion of

arbitration. The Court, having considered the motion and being fully advised in the premises, will

grant the Joint Stipulation to Stay Case and Compel Arbitration.

       Accordingly, it is hereby

       ORDERED:

       1.      The Joint Stipulation to Stay Case and Compel Arbitration (Doc. 20) is

GRANTED.

       2.      This case is STAYED pending the arbitration of Larson’s claims against Citibank,

N.A.
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        3.      The parties shall file a notice informing the Court that the arbitration has been

concluded, or that their dispute has otherwise been resolved, and a dismissal of this action within

ten days of either of such events.

        4.      The Clerk is directed to terminate all pending motions and deadlines and

administratively close this file.

        DONE AND ORDERED in Tampa, Florida on January 26, 2016.




COPIES FURNISHED TO:

Counsel of Record




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